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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                LITTLE ROCK DIVISION


UNITED STATES OF AMERICA


VS.                                     4:05CR00259(3) JLH/JTR


FELIX GREEN

                                               ORDER

        Pending before the Court is Defendant’s Motion for Bond. (Docket entry #112.) On

March 10, 2006, the Court revoked Defendant’s conditions of release due to his numerous violations,

including: (1) failing to report for chemical-free living; (2) lack of contact with his Pretrial Services

Officer; (3) multiple missed drug tests; and (4) a positive drug test prior to his appearance at the

revocation hearing. (Docket entry #90.)

        Defendant is currently detained in the Dallas County Detention Center. Defendant argues

that he is experiencing health problems including: (1) headaches; (2) blurred vision; (3) continual

leg and hip pain; and (4) difficulty in eating due to his teeth being in poor condition. Defendant

complains that he is not currently on any medication and that his jailers refuse to take him to see a

doctor, despite numerous requests. Defendant also adds that his home is falling into a state of

disrepair and that “unauthorized individuals” are occupying his home. Citing these circumstances,

Defendant requests that the Court set a bond so that he may address his medical needs and live at

home.

        The Government opposes Defendant’s Motion. (Docket entry #114.) According to the

Government, Dallas County Jail officials informed the Marshal’s Office that, as of July 18, 2006,
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Defendant has never requested medical attention since his arrival, that a physician visits the facility

twice a week, and that Defendant has never requested to be seen by the physician. Id.

       Upon careful review of the circumstances set forth in Defendant’s Motion, the Court

concludes that bond is not warranted. The circumstances alleged in Defendant’s Motion do nothing

to address the reasons Defendant was detained in the first place, much less give the Court confidence

in Defendant’s ability to comply with any conditions of release that might be imposed. To the extent

that Defendant wishes to pursue a claim for inadequate medical care, 42 U.S.C. § 1983 provides an

avenue for relief.

       IT IS THEREFORE ORDERED THAT Defendant’s Motion for Bond (docket entry #112)

is DENIED.

       DATED this 20th day of July, 2006.



                                                       UNITED STATES MAGISTRATE JUDGE
